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                    Exhibit 1
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                       ORDER OF THE COMMISSIONER
                      OF HEALTH AND MENTAL HYGIENE
              TO REQUIRE COVID-19 VACCINATION OR TESTING FOR
                   STAFF IN PUBLIC HEALTHCARE SETTINGS


        WHEREAS, on March 12, 2020, Mayor Bill de Blasio issued Emergency Executive Order
No. 98 declaring a state of emergency in the City to address the threat posed by COVID-19 to the
health and welfare of City residents, and such order remains in effect; and
        WHEREAS, on March 25, 2020, pursuant to Section 3.01 of the New York City Health
Code (“Health Code”), the existence of a public health emergency within the City as a result of
COVID-19, for which certain orders and actions are necessary to protect the health and safety of
the City of New York and its residents, was declared; and
       WHEREAS, pursuant to Section 558 of the New York City Charter (the “Charter”), the
Board of Health may embrace in the Health Code all matters and subjects to which the power
and authority of the Department of Health and Mental Hygiene (the “Department”) extends, and
pursuant to Section 556 of the Charter and Section 3.01 of the Health Code, the Department is
authorized to supervise the control of communicable diseases and conditions hazardous to life
and health and take such actions as may be necessary to assure the maintenance of the protection
of public health; and
       WHEREAS, the U.S. Centers for Disease Control (“CDC”) reports that new variants of
COVID-19, identified as “variants of concern” have emerged in the United States, and some of
these new variants which currently account for the majority of COVID-19 cases sequenced in
New York City, are more transmissible; and
        WHEREAS, the Department’s clinical settings and the facilities and personnel of the
New York City Health and Hospitals Corporation (“NYC Health + Hospitals”) provide health
services to all New Yorkers seeking care and have a duty to take reasonable measures to reduce
the risk of transmission of COVID-19 as part of their mission to protect the public health; and
       WHEREAS, the Department’s clinical settings and the facilities and personnel of NYC
Health + Hospitals serve individuals from all areas of the city, including those with the highest
rates of COVID-19 infection and hospitalization, and the areas of the city with the lowest
vaccination rates; and
       WHEREAS, the CDC has stated that vaccination is an effective tool to prevent the
spread of COVID-19 and benefits both vaccine recipients and those they come into contact with,
including persons who for reasons of age, health, or other conditions cannot themselves be
vaccinated; and
          WHEREAS, pursuant to Health Code Section 3.07, no person “shall do or assist in any
act which is or may be detrimental to the public health or to the life or health of any individual . .
. or . . . shall fail to do any reasonable act or take any necessary precaution to protect human life
and health;” and
        WHEREAS, pursuant to Section 3.01 of the Health Code, I am authorized to issue orders
and take actions that I deem necessary for the health and safety of the City and its residents when
urgent public health action is necessary to protect the public health against an existing threat and
a public health emergency has been declared pursuant to such section;
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         NOW THEREFORE I, Dave A. Chokshi, MD, MSc, Commissioner of Health and
Mental Hygiene, finding that a public health emergency within New York City continues, and
that it is necessary for the health and safety of the City and its residents, do hereby exercise the
power of the Board of Health to prevent, mitigate, control and abate the current emergency, and
hereby order that:

   1. By August 2, 2021, the Department shall require from each staff member working in a
      clinical setting:
       a. Proof of full vaccination, to be provided in a manner determined by the Department;
          or
       b. For any staff member who does not provide such proof:
           (i) Proof of a negative COVID-19 diagnostic test (not an antibody test) at least once
               per week, to be provided in a manner determined by the Department; and
           (ii) Wearing a well-fitted face covering at all times while in the workplace, as
                provided in Department guidance or policies, which may also provide for the use
                of other types of personal protective equipment.
   2. By August 2, 2021, NYC Health + Hospitals shall require from each staff member:
       a. Proof of full vaccination, to be provided in a manner determined by NYC Health +
          Hospitals; or
       b. For any staff member who does not provide such proof:
           (i) Proof of a negative COVID-19 diagnostic test (not an antibody test) at least once
               per week, to be provided in a manner determined by NYC Health + Hospitals; and
           (ii) Wearing a well-fitted face covering at all times while in the workplace, as
                provided in NYC Health + Hospitals guidance or policies, which may also
                provide for the use of other types of personal protective equipment.
   3. Within 90 days, the Department shall report to the Board of Health on the
      implementation of the requirements of this Order and any recommendations to limit the
      spread of COVID-19 infection in health care settings.

For the purposes of this order:

       “Clinical setting” means a Department clinic where staff members have contact with
       patients seeking medical opinions, services, or treatment. This Order applies to all staff
       members working in such clinics, including staff members providing administrative or
       technical support, and operational or custodial services at the clinic site, regardless of
       whether the staff member has direct contact with patients. This Order does not include
       services provided by the Department in schools or private homes.

        “Full vaccination” means two weeks after a having received the second dose of a two-
       dose COVID-19 vaccine or two weeks after receiving a single-dose COVID-19 vaccine,
       except that, for the purposes of this Order, a staff member who provides documentation
       of having received one dose of any COVID-19 vaccine before August 1, 2021 will be
       considered fully vaccinated so long as, if such staff member received a two-dose vaccine,


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       the staff member provides documentation that the second dose has been administered
       before September 1, 2021.

       “Staff member” is any full or part time employee of the Department or NYC Health +
       Hospitals.

This Order shall be effective immediately and remain in effect until rescinded, subject to the
authority of the Board of Health to continue, rescind, alter or modify this Order pursuant to
Section 3.01 of the Health Code.




Dated: 07/21/2021                                    _____________________________
                                                     Dave A. Chokshi, MD, MSc
                                                     Commissioner




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